                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                                 Plaintiff,       )
                                                  )
                 v.                                ) Case No.     12-00268-12-CR-W-DGK
                                                  )
KEVIN MICHAEL WEISS,                              )
                                                  )
                                 Defendant.       )


                                REPORT AND RECOMMENDATION
                                 CONCERNING PLEA OF GUILTY

         The Defendant appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule 72(j)(26), and 28

U.S.C. ' 636 and entered a plea of guilty to Count(s) One (lesser included offense) and Two of the

Superseding Indictment.     I determined that the guilty plea is knowledgeable and voluntary and that the

offense charged is supported by an independent basis in fact containing each of the essential elements of

such offense. A record was made of the proceedings and a transcript is available. I therefore recommend

that the plea of guilty be accepted and that the Defendant be adjudged guilty and have sentence imposed

accordingly.

         Failure to file written objections to this Report and Recommendation within fourteen (14) days

from the date of its service shall bar an aggrieved party from attacking such Report and Recommendation

before the assigned United States District Judge. 28 U.S.C. ' 636(b)(1)(B).




                                                          /s/ John T. Maughmer
                                                         JOHN MAUGHMER
                                                         United States Magistrate Judge
Dated:         May 15, 2014




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